           Case 22-60043 Document 245 Filed in TXSB on 10/21/22 Page 1 of 2


                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

 In re:                                                        §
                                                               §       Case No. 22-60043
 FREE SPEECH SYSTEMS, LLC.,                                    §       Chapter 11 (Subchapter V)
                                                               §
           Debtor.                                             §
              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that PATRICK MAGILL is appearing as Chief Restructuring Officer in

this case, and hereby requests service of all notices and papers herein upon the address listed below, pursuant

to section 1109 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq., and rules 2002, 3017, 9007, and

9010 of the Federal Rules of Bankruptcy Procedure.

                                       Patrick Magill
                                       Chief Restructuring Officer,
                                       Free Speech Systems, LLC
                                       3019 Alvin Devane Blvd. Ste 300
                                       Austin, Texas 78741
                                       patrick@magillpc.com

          PLEASE TAKE FURTHER NOTICE that the foregoing request includes all pleadings of any kind,

including, without limitation, all notices, motions, complaints, and orders, whether written or oral, formal, or

informal, however transmitted, related in any way to the debtor, its property, or its estate. The undersigned

requests that its name be added to the mailing matrix.

          PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and Request for Service

of Papers (the “Notice”) nor any later appearance, pleading, proof of claim, claim, or suit shall constitute a

waiver of (i) the right to have final orders in noncore matters entered only after de novo review by a District

Judge; (ii) the right to trial by jury in any proceeding triable in this case or any case, controversy, or proceeding

related to this case; (iii) the right to have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal; (iv) any objection to the jurisdiction of this Bankruptcy Court for any

purpose other than with respect to this Notice; (v) an election of remedy; and (vi) any other rights, claims,




NOTICE OF APPEARANCE                                                                            PAGE 1 OF 2
          Case 22-60043 Document 245 Filed in TXSB on 10/21/22 Page 2 of 2


actions, defenses, setoffs, and recoupments as appropriate, in law or in equity, under any agreements, all of

which rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.


        Dated: October 21, 2022

                                                 By: /s/ Ray Battaglia
                                                     Raymond W. Battaglia
                                                        Texas Bar No. 01918055
                                                     Law Offices of Ray Battaglia, PLLC
                                                     66 Granburg Circle San
                                                     Antonio, Texas 78218
                                                     Tel.: (210) 601-9405
                                                     rbattaglialaw@outlook.com

                                                  Counsel for Free Speech Systems, LLCy

                                      CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served electronically
upon those parties registered to receive electronic notice via the Court’s CM/ECF system on October 21, 2022:

                                                          /s/ Raymond W. Battaglia
                                                          Raymond W. Battaglia




NOTICE OF APPEARANCE                                                                        PAGE 2 OF 2
